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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT

HELEN TAYLOR
Plaintiff

VS. CIVIL ACTION NO. 4:20-CV-729

OM OM () CN)

99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS, INC. §
AND JOHN DOE §
Defendants §
DEFENDANT’S NOTICE OF REMOVAL
COMES NOW, 99 CENTS ONLY STORES, LLC; 99 CENTS ONLY
STORES TEXAS, INC., Defendants and file this its Notice of Removal
pursuant to 28USC §Section 1446(a), and hereby removes this case from
the 269th Judicial District Court in Harris County, Texas to the United
States District for the Southern District of Texas.
Defendant has denied the claims and damages alleged in Plaintiff’s
Original Petition and files this notice without waving any claims, defenses,
exceptions or obligations that may exist in its favor in State or Federal

Court.

I.
INTRODUCTION

99 CENTS ONLY STORES, LLC; 99 CENTS ONLY STORES TEXAS,
INC., Defendants, are the Defendants in a civil action commenced on
January 17, 2020, in the 269th District Court in Harris County, Texas

titled Helen Taylor vs. 99 Cents Only Stores, LLC; 99 Cents Only Stores

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Texas, Inc. and John Doe, Cause No. 2020-03179 (hereinafter referred to
as the State Court Action).

Pursuant to the local rules of the Southern District of Texas copies
of all pleadings and orders served in the State Court are attached along
with the index of the State Court documents. The address for the Judicial
District Court is Harris County Civil Courthouse, 201 Caroline Street,
Houston, Texas 77002.

Plaintiff in the State Court Action is Helen Taylor and her attorneys
are Omar Khawaja, Texas Bar No. is 27072181 and Charlie C. Gustin,
Texas Bar No. is 27078605 , THE LAW OFFICES OF OMAR KHAWAJA,
PLLC. Their address is 5959 West Loop South, Suite 420, Bellaire, Texas
77401, Tel. 281/888-2339, Email: Omar@AttorneyOmar.com and
Charlie@AttorneyOmar.com.

99 CENTS ONLY STORES, LLC; 99 CENTS ONLY STORES TEXAS,
INC., Defendants are represented by Michael J. Griffin, III, Griffin & Griffin,
3003 South Loop West, Suite 206, Houston, Texas 77054, Tel. 713/228-
6568, Email: Michael@griffinandgriffin.us.

The only other party to this Civil Action is “JOHN DOE”.

II.
BASIS FOR REMOVAL

 

Defendants have filed an Answer in the State District Court action.

The lawsuit was filed in Harris County on January 17, 2020 and
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 3 of 23

Defendant was served on February 6, 2020. This notice of removal is filed
within thirty (30) days of the receipt of the Citation and Petition and is
timely filed pursuant to 28 U.S.C. §Section 1446(b).

A. Diversity of Citizenship

1. The District Courts of the United States have original jurisdiction of
this action based on Diversity of Citizenship among the parties, in that
every Defendant is now and was at the time the action was filed, diverse
in citizenship from the Plaintiff. Defendants are not now nor were at the
time this suit filed was citizens of the State of Texas.

2. As stated in Plaintiff’s Original Petition, Plaintiff is a Texas resident
and Defendants are foreign corporations doing business in Texas.
Defendant, 99 CENTS ONLY STORES, LLC; is a California Corporation, 99
CENTS ONLY STORES TEXAS, INC. is a Delaware Corporation. As such
Defendants now and at the time this lawsuit was commenced were citizens
of a state other than Texas.

B. Amount in Controversy in this action

1. Exclusive of interests and costs the amount in controversy
exceeds the sum of $75,000.00. As reflected in Plaintiff’s Original Petition
filed in State Court, Plaintiff's claims are said to be more than
$1,000,000.00.

Removal of the State Court Action is proper pursuant to 28 U.S.C.

§Section 1441 since it is a Civil Action brought in the State Court and the

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Federal District Court has original jurisdiction over the subject matter
under 28 U.S.C. §Section 1332(a) as Plaintiff and Defendants are diverse
in citizenship.

Defendant, JOHN DOE.

Plaintiff has also sued JOHN DOE who she alleges to be the store
manager. In her Petition Plaintiff alleges she was injured when a closing
automatic door knocked her to the ground. In this premises liability case
the store manager would not owe the Plaintiff any duty individually or
distinct from the duties owed by the Defendants, 99 CENTS ONLY STORES,
LLC; 99 CENTS ONLY STORES TEXAS, INC. It is presumed John Doe is
merely lumped in this matter in an attempt to avoid diversity jurisdiction.
This is a premises liability case and is not based on any breach of any
independent duty of the store manager.

WHEREFORE PREMISES CONSIDERED Defendant respectfully
prays that the Court, pursuant to the statutes and in conformity with the
requirements set forth in 28 U.S.C. §Section 1446, remove this action from
the 113th District Court in Harris County, Texas to this Honorable Court

in the Southern District of Texas.
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 5 of 23

Respectfully submitted,

 

MICHAEL J. GRIFFIN III
Michael@geriffinandgriffin.us

SBN: 08463020

FEDERAL I.D. NO. 9661

GRIFFIN & GRIFFIN

3003 South Loop West, Suite 206
Houston, Texas 77054-1372

((713) 228-6568 Tel.

(713) 228-9900 Fax.

E-service: eservice@griffinandgriffin.us

 

ATTORNEY FOR DEFENDANTS
99 CENTS ONLY STORES, LLC; 99
CENTS ONLY STORES TEXAS, INC.

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing
document has been forwarded to the following counsel of record by
certified mail, return receipt requested, e-service, e-mail, facsimile
transmission, and/or hand delivered by messenger, on this the 28th day of
February 2020, in compliance with Tex.R.Civ.P. 21:

Via Facsimile 713/969-4837

Omar Khawaja

Charlie C. Gustin

THE LAW OFFICES OF OMAR KHAWAJA, PLLC
5959 West Loop South, Suite 420

Bellaire, Texas 77401

 

 

MICHAEL J. GRIFFIN, III
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT

HELEN TAYLOR
Plaintiff

VS. CIVIL ACTION NO. 4:20-CV-729

MO) CN () CO) () CM)

99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS, INC. §
AND JOHN DOE §

Defendants §

 

CERTIFICATE OF INTERESTED PERSONS

 

Pursuant to Fed. R. Civ. P.7.1 and LR 3.1©, LR 3.2€, LR 7.4, LR
81.1(a)(4)(D), and LR 81.2, Defendants, 99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS, INC. provides the following information:

For a nongovernmental corporate party, the name(s) of its parent
corporation and any publicly held corporation that owns 10% or more of
its stock: 99 CENTS ONLY STORES, LLC; 99 CENTS ONLY STORES
TEXAS, INC.

A complete list of all persons, associations of persons, firms, part-
nerships, corporations, guarantors, insurers, affiliates, parent or subsid-
iary corporations, or other legal entities that are financially interested in
the outcome of the case:

99 CENTS ONLY STORES, LLC; 99 CENTS ONLY STORES TEXAS,

INC. — Defendants, Michael J. Griffin, I —- Defendant’s Attorney;
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HELEN TAYLOR - Plaintiff, Omar Khawaja and Charlie C. Gustin-

Plaintiffs’ Attorneys.

Respectfully submitted,
Men. fail L- Criffiw

MICHAEL J. GRIFFIN III
Michael@griffinandgriffin.us

SBN: 08463020

FEDERAL I.D. NO. 9661

GRIFFIN & GRIFFIN

3003 South Loop West, Suite 206
Houston, Texas 77054-1372

((713) 228-6568 Tel.

(713) 228-9900 Fax.

E-service: eservice@griffinandgriffin.us

 

 

 

ATTORNEY FOR DEFENDANTS
99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS,
INC.
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 8 of 23

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing
document has been forwarded to all parties of record and or Counsel via

facsimile, regular mail, or email on this the 28th day of February 2020 in
compliance with Tex.R.Civ.P. 21.

Via Facsimile 713/969-4837
Omar Khawaja
Charlie C. Gustin

THE LAW OFFICES OF OMAR KHAWAJA, PLLC
5959 West Loop South, Suite 420
Bellaire, Texas 77401

Date: 02/26/2020

MICHAEL J. GRIFFIN, III

 
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT

HELEN TAYLOR
Plaintiff

VS. CIVIL ACTION NO. 4:20-CV-729

99 CENTS ONLY STORES, LLC;

99 CENTS ONLY STORES TEXAS, INC.

AND JOHN DOE
Defendants

C) CO) CO) CO) CO) CO) CO) CO) CO)

LIST OF COUNSEL OF RECORD
Plaintiff in the State Court Action is Helen Taylor and her attorneys
are Omar Khawaja, Texas Bar No. is 27072181 and Charlie C. Gustin,
Texas Bar No. is 27078605 , THE LAW OFFICES OF OMAR KHAWAJA,
PLLC. Their address is 5959 West Loop South, Suite 420, Bellaire, Texas

77401, Tel. 281/888-2339, Email: Omar@AttorneyOmar.com and

 

Charlie@AttorneyOmar.com.

 

Defendant, 99 CENTS ONLY STORES, LLC; 99 CENTS ONLY
STORES TEXAS, INC. are represented by Michael J. Griffin, HI, SBN:
08463020, GRIFFIN & GRIFFIN, 3003 South Loop West, Suite 206,
Houston, Texas 77054, Tel. 713/228-6568, Fax. 713/228-9900,

Michael@griffinandgriffin.us.

 
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 10 of 23

Respectfully submitted,

Micheal E Cophler 3,

 

MICHAEL J. GRIFFIN III
Michael@griffinandgriffin.us

SBN: 08463020

FEDERAL I.D. NO. 9661

GRIFFIN & GRIFFIN

3003 South Loop West, Suite 206
Houston, Texas 77054-1372

((713) 228-6568 Tel.

(713) 228-9900 Fax.

E-service: eservice@griffinandgriffin.us

 

ATTORNEY FOR DEFENDANTS
99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS,
INC.

CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the foregoing
document has been forwarded to all parties of record and or Counsel via
facsimile, regular mail, or email on this the 28th day of February 2020 in
compliance with Tex.R.Civ.P. 21.

Via Facsimile 713/969-4837

Omar Khawaja

Charlie C. Gustin

THE LAW OFFICES OF OMAR KHAWAJA, PLLC
5959 West Loop South, Suite 420

Bellaire, Texas 77401

Date: 02/26/2020

MICHAEL J. GRIFFIN, III

 

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT

HELEN TAYLOR
Plaintiff

VS. CIVIL ACTION NO. 4:20-CV-729

CO) CO) CO) CO) CO) CO)

99 CENTS ONLY STORES, LLC;
99 CENTS ONLY STORES TEXAS, INC. §
AND JOHN DOE )
Defendants §

INDEX OF DOCUMENTS TO BE FILED WITH NOTICE OF REMOVAL

1. Plaintiffs Original Petition filed on January 17, 2020 in Cause No.
2020-03179;

2. Citation and Notice of Service of Process on 99 Only Store in Cause
No. 2020-03179;

3. Service of Process Transmittal showing service of process by
personal service on February 6, 2020;

4. Defendant’s Original Answer filed on February 19, 2020;

5. Defendant’s Notice of Removal.

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CAUSE NO.

HELEN TAYLOR § IN THE DISTRICT COURT
VS. : ____ JUDICIAL DISTRICT
99 CENTS ONLY STORES, LLC; :

99 CENTS ONLY STORES TEXAS, INC.; §
ToHN DOE : HARRIS COUNTY, TEXAS

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE
TO THE HONORABLE JUDGE OF SAID COURT:

1. NOW COMES Plaintiff, HELEN TAYLOR, complaining of Defendants 99 CENTS
ONLY STORES, LLC (“99 CENTS”), 99 CENTS ONLY STORES TEXAS, INC. (“99 CENTS
TEXAS”) and JOHN DOE (“MANAGER”) as follows:

I.
DISCOVERY CONTROL PLAN LEVEL

2. Plaintiff intends that discovery be conducted under Discovery Level 2.

)
i.

PARTIES

3. Plaintiff HELEN TAYLOR is an individual who is a resident of Harris County,

Texas.

4. 99 CENTS ONLY STORES, LLC, is a foreign corporation doing business in the state
of Texas. It may be served with process through its registered agent, CT Corporation System, at
1999 Bryan Street, Suite 900, Dallas, Texas 75201. Service may be completed by certified mail,
return receipt requested. To the extent the above-named Defendant is conducting business pursuant
to a trade name or assumed name, then suit is brought against them pursuant to Rule 28 of the Texas
Rules of Civil Procedure, and Plaintiff hereby demands that upon answering this suit, the Defendant

answer in its correct legal name(s) and assumed name(s).
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5. 99 CENTS ONLY STORES TEXAS, LLC, is a foreign corporation doing business in |
the state of Texas. It may be served with process through its registered agent, CT Corporation
System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201. Service may be completed by
certified mail, return receipt requested. To the extent the above-named Defendant is conducting
business pursuant to a trade name or assumed name, then suit is brought against them pursuant to
Rule 28 of the Texas Rules of Civil Procedure, and Plaintiff hereby demands that upon answering
this suit, the Defendant answer in its correct legal name(s) and assumed name(s).

6. JOHN DOE (“MANAGER”) is an individual who resides in the state of Texas. While
his full identity is currently unknown, he is identified by the first initial “S” and 99 CENTS
employee ID number 310107. He may be served with process once he is fully identified and located.

Ti.
JURISDICTION

a. This Court has jurisdiction, pursuant to TEX. GOV’T CODE § 24.007, and the
Plaintiff's demands are within the jurisdictional limits of the District Court, Harris County, Texas.

IV.
VENUE

8. This premises liability occurred in Harris County, Texas. Therefore, venue is proper
in Harris County, Texas, pursuant to TEX. Civ. PRAC. & REM. CODE §15.002(a)(1) because all or a

substantial part of the events giving rise to the claim occurred in Harris County.

"Vv.
FACTUAL BACKGROUND

9. Defendants 99 CENTS and 99 CENTS TEXAS own and operate the 99 CENTS
ONLY Store #2804 (“Keith Harrow store”), located at 4980 N. Highway 6, Houston, Texas 77084.
At all times material, Defendants have maintained care and control over the premises while

extending an open invitation to the public to enter to the premises through the front doors.
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10. Onorabout February 19, 2018, Plaintiff HELEN TAYLOR, entered the commercial
premises owned by Defendants. Plaintiff's purpose for being on the premises at the time was to
make purchases. Consequently, Plaintiff was an invitee to whom Defendants owed a duty to use
ordinary care, including the duty to protect and safeguard Plaintiff from unreasonably dangerous
conditions on the premises or to warn of their existence.

11. Defendants, their agents, servants and employees (specifically including Defendant
JOHN DOE) negligently allowed the premises to become unsafe and dangerous, negligently or
willfully permitted such condition to exist, negligently or willfully failed to make the condition safe
for Plaintiff, and/or negligently or willfully failed to warn Plaintiff of the condition of the property,
despite the fact that Defendants, their agents, servants and employees knew, or in the exercise of
ordinary care, should have known of the existence of the dangerous conditions and that there was a
likelihood of someone being injured as happened to the Plaintiff.

12. While upon the Defendants’ premises, Plaintiff suffered serious bodily inj uries as a
direct result of the dangerous conditions of Defendants’ property, which Defendants, their agents,
servants and employees including Defendant JOHN DOE knew or, in the exercise of ordinary care,
should have known existed. Specifically, Plaintiff was injured as a result of an improperly
maintained and dangerous automatic sliding glass door. Suddenly and without waming, Plaintiff
was forcibly knocked to the ground by the closing automatic door. Then the automatic door
attempted to close on Plaintiff multiple times. Due to the impact, Plaintiff sustained serious and

long-term injuries including two broken bones in her left foot.

VI.
CAUSE OF ACTION — PREMISES LIABILITY

 

13. Paragraphs 1-12 are incorporated herein by reference.

14. _ The incident that forms the basis of this lawsuit occurred in an area open to the
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public and under the control of Defendants.

15. Asaregular part of its business operations, Defendants extend an open invitation for
persons, like Plaintiff, to enter its premises for business activities.

16. Plaintiff was participating in business activities on Defendants’ premises at the time
of the incident, and therefore, was an invitee at the time the injury occurred.

17. Defendants maintained possession and control of the premises, including all public
areas such as entrance door and parking lot, and undertook to maintain the premises for the use and,
enjoyment of its invitees, including Plaintiff.

18. Because Plaintiff was an invitee, Defendants owed her a duty to exercise ordinary
care to keep the premises in a reasonably safe condition, to inspect the premises to discover latent
defects, and make safe any defects or give adequate warning of any dangers.

19. ‘Defendants’ conduct, and that of its agents, servants, and employees including
Defendant JOHN DOE, acting within the scope of their employment, constituted a breach of the duty
of ordinary care owed by Defendants to Plaintiff. On the occasion in question, Defendants,
individually and by and through its agents, employees, and/or servants, maintained a dangerous
condition on the premises. Specifically, there was an unreasonable hazard posed by an improperly
maintained automatic sliding glass door. The hazardous nature of this condition was hidden to
invitees, like Plaintiff, who conduct business on Defendants’ premises. This hazardous condition
posed an unreasonable risk of harm to Plaintiff.

20. Defendants further knew or should have known of the unreasonable risk of harm
posed by the condition of their premises, but failed to make the condition reasonably safe or to warn
Plaintiff of the danger. Plaintiff had no knowledge of the dangerous condition. Defendants knew or,

in the exercise of reasonable care, should have known that exposing the public to hazards posed by
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 16 of 23

the unsecured and improperly maintained heavy metal gate, as well as‘ failing to remedy or warn
Plaintiff of the hazard posed an unreasonable risk of harm to invitees such as Plaintiff, who would
use the premises without knowing of the danger.

21. As aresult of Defendants’ breach of duty, Plaintiff was injured by the hazardous

condition, which resulted in personal injuries and damages to her.

VIL.
DAMAGES |

22. As a direct result of the occurrence made the basis of this lawsuit, Plaintiff was
caused to suffer personal injuries and to incur the following damages:
a. Reasonable medical care and expenses in the past. These expenses were incurred by
Plaintiff for necessary care and treatment of the injuries resulting from the accident
complained of herein and such charges are reasonable and were usual and customary

charges for such services in Harris County, Texas;

b. Reasonable and necessary medical care and expenses which will in all reasonable
probability be incurred in the future;

c. Physical pain and suffering in the past;

d. Physical pain and suffering in the future;

e. Physical impairment in the past; -
f. Physical impairment which, in all probability, will be suffered in the future;
g- Disfigurement in the past;

h. Disfigurement which, in all probability, will be suffered in the future;

i. Mental anguish in the past;
je Mental anguish in the future;
k. Loss of consortium;

iF Lost earnings;

m. Loss of future earning capacity; and
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 17 of 23

n. Any other relief to which Plaintiff may be entitled.
23. Pursuant to Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiff seeks
monetary relief of over $1,000,000.00.

Vill.
REQUESTS FOR DISCLOSURE

24. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests that
Defendant disclose within 50 days after service of process, the information or material described in
Rule 194.2, including all subparts. Defendant is specifically directed to disclose material
responsive to Texas Rule 194.2(g), “any indemnity and insuring agreements described in Rule
192.3(h).”

IX.
RULE 193.7 NOTICE

25. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby files
this Notice of Intention to Use Production Documents at Trial. Plaintiff hereby gives notice to all
parties that they intend to use at tnal, or at any pre-trial proceedings, all documents produced by

Defendant in response to discovery from any parties in this case.

X.
NOTICE TO PRESERVE EVIDENCE

26. Defendant is hereby put on notice to preserve any and all potentially relevant
evidence in this matter, including but not limited to: all records and information that relate to this
case or claim; all relevant video tapes (security video included); photographs; witness statements;
emails; text messages; reports; invoices; any and all records relating to maintenance of the parking
lot; all records related to the parking lot; all records that relate to other injuries or “slip and fall”

incidents in the subject parking lot.
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XI.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff HELEN TAYLOR respectfully prays
that Defendants 99 CENTS, 99 CENTS TEXAS, and JOHN DOE be cited to appear and answer
herein, and that upon a final hearing of the cause, judgment be entered for the Plaintiff against
Defendants for damages in an amount within the j urisdictional limits of the Court; together with pre-
Judgment interest (from the date of the injury through the date of the judgment) at the maximum rate
allowed by law; post-judgment interest at the legal rate, costs of court, and any such other relief to

which Plaintiff may be entitled at law or in equity.

Respectfully submitted
PTA
By: \_

Omar Khawaja

Texas Bar. No. 24072181

Email: Omar@AttomeyOmar.com
Charlie C. Gustin ~
Texas Bar No. 24078605

Email: Charlie@AttorneyOmar.com
THE LAW OFFICES OF OMAR KHAWAJA, PLLC
5959 West Loop South, Suite 420
Bellaire, Texas 77401

Tel. (281)888-2339

Fax (713) 969-4837

 

ATTORNEYS FOR PLAINTIFF
Case 4:20-cv-00729. Document 1 Filed on 02/28/20 in TXSD Page 19 of 23

RECEIPT NUMBER 0,00

TRACKING NUMBER 723716277 CIV
CAUSE NUMBER 202003173

 

 

 

PLAINTIFF: TAYLOR, HELEN In The 269t
vs. Judicial District Court of
DEFENDANT: 99 CENTS ONLY STORES LLC . Hurris County, Texas
CIFATION CORPORATE
THE STATE OF TEXAS :
County of Harris

TO: $9 CENTS ONLY STORES LLC (FOREIGN CORPORATION) MAY BE SERVED
THROUGH iTS REGISTERED AGENT CT CORPCRATION SYSTEM

1999 BRYAN STREET SUITE 300 DALLAS TX 75201

TIE

  

Attached isa copy of = PLé

This instrument was filed onthe _ -L7€ day of January .20___ 20 inthe
above cited cause number and court. The instrument attached describes the clainy against you,

YOU HAVE BEEN SUED: vou may employ an attorney. If you or your attorney do not file a written answer with the
District Clerk who issued this citation by 10:00 a.m on the Manday next follawing the expiration of 20 days after vou were
served this citation and petition. a default Judgment may be taken aguinst you.
TO OFFICER SERVING: ¥
This Citation was issued under my hand and seal of said Court, at Houston, Texas. this__ 23rd. day of

 

January » 20.
»
AB F HARES, naAte f
per

oS \.G\ MARILYN BURGESS, District Clerk
Issued at request of: oy; i¢ Harris County, Texas
GUSTIN, CHARLIE 4 =| 205 Caroline, Houston, Texas 77002
5959 WEST LOOP SOUTH, suite \¢\ LX} P.0.Box 4651, Houston, Texas 77210
420 On — ch
BELLAIRE, TX 77041 Sf ‘Generated by: MONON, RHONDA HNP//11422559

TEL: (2861) 888-2335
Bar Number; 24078605

OFFICER/AUTHORIZED PERSON RETURN

 

 

 

[received this citation on the day af .20 at o'clock __.M.. endorsed
the date of delivery thereon, and d it at __ . .
ASTRERT AGTWESSE WOT) *

at o'cluck _M..

day of .20

in County, Texas on the

 

 

by delivering to . by delivering to ils
DAO AAS CDRA SAS IN TEATS

in person, whose name is

 

 

CAPATATE RD. ALT, ORESINDNT, o¢ V0 Fo PRESIUFNTY

a true copy of this citation, with a copy of the Petition attached,

   

Ee Se ETE DS ANT IPS OES AE |

 

and with accompanying copies of

 

(MOT ed TATA CP, 2200 RPO ee Pee
1
! cortify that the facts stated in this return are truc by my signature below on the _____ day of .20__.
. —
FEE: § : By:

CTT ee

Printed) Name:

 

As Deputy for:

 

 

 

 

 

Affiant Other Than Officer TAS Nain TTT caPaRly

On this day, . known to me to be the person whose signature

appears on the foregoing relucn, personally appeared. After being by me duly sworn, he/she stated that this citation was

executed by him/her in the exact manner recited on the return, :

SWORN TO AND SUBSCRIBED BEFORE ME, on this day of : >. 20,
ss . Notary Publie

LSU *73716277°

4
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 20 of 23

To: Evelynn Romero
99 Cents Only Stores
4000 Union Pacific Ave

Commerce, CA 90023-3202

Service of Process
Transmittal
02/06/2020

CT Log Number 537137183

RE: Process Served in Texas

FOR:

99 Cents Only Stores LLC (Domestic State: CA)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :

APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

HELEN TAYLOR, Pltf. vs. 99 CENTS ONLY STORES, LLC. et al., Dfts.
Summons, Complaint, Notice, Proof, Attachment(s)

HARRIS COUNTY - DISTRICT COURT, TX
Case # 202003179

Personal Injury - Failure to Maintain Premises in a Safe Condition - 02/19/2018
C T Corporation System, Dallas, TX

By Process Server on 02/06/2020 at 10:10

Texas

At or Before 10:00 a.m. on the Monday next after the expiration of 20 days
(Document(s) may contain additional answer dates)

Omar Khawaja

The Law Offices of Omar Khawaja, PLLC
5959 West Loop South, Suite 420
Bellaire, TX 77401

(281)888-2339

SOP Papers with Transmittal, via UPS Next Day Air , 12X212780104208227
Image SOP

Email Notification, Evelynn Romero evelynn.romero@99only.com

Email Notification, Mary Kasper mary.kasper@99only.com

Email Notification, Mary Kay Delgado marykay.delgado@99only.com

C T Corporation System
1999 Bryan Street
Suite 900

Dallas, TX 75201
214-932-3601

Page 1 of 1 / SB

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
Case 4:20-cv-00729 Document 1 Filed on 02/28/20 in TXSD Page 21 of 23

NO. 2020-03179
HELEN TAYLOR IN THE DISTRICT COURT
Plaintiff

VS.

99 CENTS ONLY STORES, LLC;

99 CENTS ONLY STORES

TEXAS, INC. AND JOHN DOE
Defendants § 2697H JUDICIAL DISTRICT

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§ | HARRIS COUNTY, TEXAS
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DEFENDANTS ORIGINAL ANSWER, DEMAND FOR JURY TRIAL
AND REQUEST FOR DISCLOSURE TO PLAINTIFF

COMES NOW, 99 CENTS ONLY STORES, LLC, 99 CENTS ONLY
STORES TEXAS, INC. AND JOHN DOE, Defendants in the above-entitled
and numbered cause and in answer to Plaintiffs Petition would
respectfully show unto the Court as follows:

I.

Defendants generally denies the allegations of the Petition and thus
asserting the privilege of having such allegations proved by a
preponderance of the evidence. Defendants will amend their answer as
necessary.

Defendants are alleging contributory negligence on the part of the
Plaintiff and unavoidable accident.

II,
99 CENTS ONLY STORES, LLC, 99 CENTS ONLY STORES TEXAS,

INC. AND JOHN DOE, hereinafter referred to as Defendants, in this cause
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demands trial by jury pursuant to Rule 216, Texas Rules of Civil Procedure,
and tenders the required fee.
III,

Pursuant to Rule 194 of the Texas Rules of Civil Procedure you are
requested to disclose within 32-days the service of this request, the
information or material described in Rule 194.2.

WHEREFORE, PREMISES CONSIDERED, Defendants pray that
petitioner take nothing by reason of this suit, that the Defendants be
discharged and that they go hence with their costs without delay, and for
such other and further relief, both general and special, at law and in equity,
to which they may show themselves be justly entitled.

Respectfully submitted,

GRIFFIN & GRIFFIN

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INC. AND JOHN DOE
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing
document has been forwarded to the following counsel of record by
certified mail, return receipt requested, by facsimile, and/or hand
delivered by messenger, on this the 11th day of February 2020, in
compliance with Tex.R.Civ.P. 21:

Via Facsimile 713/969-4837

Omar Khawaja

Charlie C. Gustin

THE LAW OFFICES OF OMAR KHAWAJA, PLLC
5959 West Loop South, Suite 420

Bellaire, Texas 77401

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Ps

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MICHAEL J. GRIFFIN III
MARILYN O. GRIFFIN
